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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )   Chapter 11
In re:                                                    )
                                                          )   Case No. 22-10584 (CTG)
FIRST GUARANTY MORTGAGE                                   )
CORPORATION, et al.,1                                     )   Jointly Administered
                                                          )
                                  Debtors.                )
                                                          )   D.I. _____

         ORDER GRANTING QUI TAM PLAINTIFF KARI CRUTCHER’S MOTION TO
         COMPEL THE PRODUCTION OF REQUESTED INSURANCE DOCUMENTS

           Upon consideration of Qui Tam Plaintiff Kari Crutcher’s Motion to Compel the Production

  of Requested Insurance Documents for an order compelling the Debtors to respond to discovery

  relating to any insurance agreements that may be in their possession, the Court being duly advised,

  and any objections having been resolved, withdrawn, or overruled, it is

  IT IS HEREBY ORDERED THAT:

           1.      The Motion is GRANTED.

           2.      The Debtors shall respond to Ms. Crutcher’s discovery requests within ten (10)

  days of this Order.



  Dated: December ___, 2022
  Wilmington, Delaware                                    ______________________________________
                                                          UNITED STATES BANKRUPTCY JUDGE




  1
           The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
           identification number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC
           (5621). The Debtors ‘mailing address is 5800 Tennyson Parkway, Suite 450, Plano, TX 75024.
